Case 1:18-mj-01193-TAB Document 1 Filed 11/29/18 Page 1 of 1 Page|D #: 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
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sEARCH WARRANTS ) Cause Numbers; U " 3 g
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) 1;18-mj-1191
) 1;18-mj-1192
) 1;18-mj-1193
APPEARANCE

Cornes now, J osh J. Minkler, United States Attorney for the Southern District of Indiana,
by Amanda Kester, Assistant United States Attorney for the Southern District of Indiana, and

enters her appearance as counsel for the United States of Arnerica.

Respectfully submitted,

JOSH J. MINKLER
United States Attorney

  

By:
Aman a Kester
Assi ant United States Attorney

